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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 3, 2024, true and correct copies of the foregoing document

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                                                               /s/ Kelly E. Farnan
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